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                                                                U.S. DISTRCT COURT
                                                                   SA'!AIN/\i WV.
                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGII6 JUL 22 PH 12:28
                             SAVANNAH DIVISION

UNITED STATES OF AMERICA                                         RO
                                                                  - PTF~
                                                                       GA
V   .                                               CASE NO. CR415-203

JOEL T. MORRIS,

           Defendant.


                                            ORDER

           Before the Court is Defendant Joel T. Morris's Motion

for Release Pending Appeal. (Doc. 122.) In the motion,

Defendant requests that he be released on bond during the

pendency of the appeal challenging his sentence in this

case. (Id. at 6.) After careful consideration, Defendant's

motion is DENIED.

           Release pending appeal is governed by 18 U.S.C.

§ 3143(b). This statute provides that a person

           who has been found guilty of an offense and
           sentenced to a term of imprisonment, and who has
           filed an appeal or a petition for a writ of
           certiorari, be detained, unless the judicial
           officer finds           by clear and convincing
                                    .   .   .



           evidence that the person is not likely to flee or
           pose a danger to the safety of any other person
           or the community if released         and that the
                                                    .   .   .



           appeal is not for the purpose of delay and raises
           a substantial question of law or fact likely to
           result in    .   a sentence that does not include
                            .   .



           a term of imprisonment, or [) a reduced sentence
           to a term of imprisonment less than the total of
           the time already served plus the expected
           duration of the appeal process.
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Id. That is, a defendant can be released pending appeal

only if (1) the defendant is not a flight risk; (2) the

appeal raises a substantial question of law; (3) the

defendant is not appealing for purposes of delay; and (4)

the appeal is likely to result in the defendant receiving a

sentence less than the total amount of time he would be

incarcerated while the appeal is pending. Id. The threshold

for finding a question substantial is greater than simply

determining that the issue is not frivolous. United States

v. Fernandez, 905 F.2d 350, 354 (11th Cir. 1990) (quoting

United States v. Giancola, 754 F.2d 898, 901 (11th Cir.

1985)). For a question to be substantial, rather, its

ultimate resolution must involve a close call that could

easily be decided either way. Id.

    After a thorough review of Defendant's motion and the

record in this case, the Court is unable to conclude that

Defendant has presented any issue on appeal that is likely

to result in a term of imprisonment that is less than the

time he would have served during the pendency of his

appeal. In his motion, Defendant raises the same arguments

he presented at sentencing regarding Chatham Area Transit's

status as a government entity and his classification as a

public official. The Court has again reviewed Defendant's

arguments and the record in this case, but is unable to


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identify any substantial issues that would warrant

Defendant's     release     pending      appeal.      Accordingly,
Defendant's request is DENIED.

     SO ORDERED this 22iay of July 2016.



                                 WILLIAM
                                 1        T.MOORE,J.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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